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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION
                                    (at Cincinnati)

M&C HOLDINGS DELAWARE
PARTNERSHIP, et al.,                              Case No. 1:20-cv-00121-SJD-KLL

      Plaintiffs,                                 Judge Susan J. Dlott

v.                                                Magistrate Judge Karen L. Litkovitz

GREAT AMERICAN INSURANCE
COMPANY,

     Defendant.


                        DECLARATION OF DANIEL LEBERSFELD


       Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

       1.       I am an attorney with the law firm of Franzblau Dratch, P.C., counsel for

defendant Great American Insurance Company (“GAIC”) in the above-captioned action, and am

admitted to appear in this action on a pro hac vice basis. I respectfully submit this declaration in

support of GAIC’s motion to dismiss the Complaint herein.

       2.       Attached hereto as Exhibit A is a copy of the Proof of Loss of M&C Holdings

Delaware Partnership with exhibits omitted. The Proof of Loss is referenced in the Complaint at

paragraph 27.

       3.       Attached hereto as Exhibit B is a copy of a claim notification letter dated June 23,

2017 from Amanda Roxland of Aon, and which is referenced in the Complaint at paragraph 27.

       4.       Attached hereto as Exhibit C is a copy of a publicly available company fact sheet

for Aon.
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        5.      Attached hereto as Exhibit D is a copy of a letter authored by Daniel Dorfman,

counsel for the plaintiffs herein, dated November 19, 2019, which describes the investigation

referenced in paragraphs 28 to 29 of the Complaint.

        6.      Attached hereto as Exhibit E is a copy of an email dated October 10, 2019 from

Adam Furmansky of Aon that appears to convey a message from Daniel Dorfrman, counsel for

the plaintiffs herein.

        7.      Attached hereto as Exhibit F is a copy of a letter from Stephen N. Dratch, counsel

for GAIC, dated December 17, 2019 and which is referenced in the Complaint at paragraph 41.

        8.      Attached hereto as Exhibit G is a copy of an email from Daniel Dorfman, counsel

for plaintiffs herein, dated January 21, 2019 with attachment omitted.

        9.      Attached hereto as Exhibit H is a copy of a letter from Stephen N. Dratch, counsel

for GAIC, dated January 31, 2010, and which is referenced in the Complaint at paragraph 47.

        10.     I declare under penalty of perjury that foregoing is true and correct to the best of

my knowledge.

        Executed on this 31st day of March 2020.



                                                      /s/ Daniel Lebersfeld
                                                      Daniel Lebersfeld




                                                 2
----            2�
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                                               Proof of Loss - Fidelity                                 Exhibit A
GREA1A.MERICAN.
              INSURANCE G,ROUP
To:       Great American Insurance Company
                                           (Name of Insurance Company)

Under your Policy No. SAA 524-50-01-13-00 issued to M&C Holdings Delaware Partnership
                                                                                           (Insured)
  (I or We) M&C Holdings Delaware Partnership hereby make claim for Loss of $1,954,329, occurring through the dishonesty
of Wayne Merdis employed as Reservation Manager and Corporate Revenue Manager from April 5, 1993 to June 22, 2017,
said loss occurring between May 18, 2001 and April 20, 2017, and discovered in June 2017. The said loss occurred as set
forth in the statement on reverse side.

                                          Detailed Statement of Claim
       DATE                    DESCRIPTION OF ITEMS CLAIMED                                    AMOUNT         TOTAL

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"'                                                                                        $1,954,329
 E                                   *Total Loss...................................>
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                                                Commission.....................>
u
                                                Any Other ........................>
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C:

C:
.Q
                                          Total Credits............................>          0
"'                                                   NET LOSS...................>                        $1,954,329
w
                *Total losses known to date.

County of Denver                                    §
                                                    §
State of Colorado                                   §


David M. Kolar, being duly sworn according to law, deposes and says that he/she is Vice President (Position) of M&C
Holdings Delaware Partnership, that the above Statement of Claim is true and correct, that the moneys set opposite the
several items listed therein were misappropriated by Wayne Merdis on the dates and in the respective amounts set forth,
that said moneys, and/or moneys realized from the proceeds of the goods not exceeding their cost value as set forth in
said Statement, have not been paid over or returned in any way whatever to the said employer except as herein stated,
that due and legal demand has been made by the said employer upon the said employee for the moneys or property
above described, and that same have been fraudulently misappropriated by the said employee to his own use and benefit
with the intent to deprive the said employer of said moneys or property.

That all items as set forth above are correct and that there has been no settlement made with the employee for any
default covered by the Policy, except as follows: None
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                                                    M&C Holdings Delaware Partnership
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                                                                                           Exhibit B
                          Amanda Roxland | Senior Claims Advocate & Team Leader | Amanda.Roxland@aon.com



June 23, 2017


Via Email (crimeclaims@gaic.com)
Fidelity & Crime Claim Dept.
Great American Insurance Co.
One Waterside Crossing
Windsor, CT 06095


RE:      Insured: M&C Holdings Delaware Partnership; CDL Hotels USA, Inc; M&C Hotel
         Interests Inc; M&C Management Services (USA), Inc. & Subsidiaries
         Coverage: Commercial Crime Policy
         Policy Number: SAA 524-50-01-13-00
         Policy Period: May 31, 2017 to May 31, 2018
         Matter: Theft - Hilton


Dear Claims Manager:

On behalf of M&C Holdings Delaware Partnership, and all other Insureds (collectively the “Insureds”), and
in accordance with the reporting provisions of the Policy, we hereby report to you a situation that may give
rise to a Loss under the referenced policy.

The Insured has discovered numerous fraudulent payments which to date have resulted in an employee
theft of approximately $1.8M.

We will provide additional details concerning this loss as they become available. We would appreciate a
written acknowledgement and either your proof of loss form or related requirements within fifteen days
following the date of this letter.

Please acknowledge receipt of this Claim at your earliest convenience, and direct all correspondence to
the undersigned and: Janlyn Mahlman, (303) 779-2035, janlyn.mahlman@milleniumhotels.com. In
addition, courtesy copies of all correspondence should be sent to Will.Kier@aon.com.

On behalf of the Insured, we reserve all rights under the Policy and at law with respect to this matter.
Should you need any additional information, or if we can be of further assistance, please do not hesitate
to contact the undersigned.

Sincerely,

Amanda Roxland
Senior Claims Advocate & Team Leader


Enclosures (Via Email)




         Aon Risk Solutions| Financial Services Group | Legal & Claims Practice
         199 Water St, 32nd fl., New York, NY 10038 
         Tel: 212-441-1488| aon.com
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June 23, 2017
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cc:      Janlyn Mahlman, Millenium Hotels, janlyn.mahlman@milleniumhotels.com
         Will Kier, Aon FSG, will.kier@aon.com




         Aon Risk Solutions| Financial Services Group | Legal & Claims Practice
                         nd
         199 Water St, 32 fl., New York, NY 10038 
         Tel: 212-441-1488 | aon.com
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 Fact Sheet                                                                                                                                           Exhibit C

Aon plc (NYSE:AON) is a leading global professional services firm providing a broad range of risk,
retirement and health solutions. Our 50,000 colleagues in 120 countries empower results for clients by
using proprietary data and analytics to deliver insights that reduce volatility and improve performance.

                                                               Aon Functional Leaders                                           Aon Solution Leaders
                                                              Greg Case, Chief Executive Officer                                Commercial Risk Solutions
                                                              Christa Davies, Chief Financial Officer                           Lambros Lambrou, Chief Executive Officer
                                                              Eric Andersen, Co-President                                       Reinsurance Solutions
                                                                                                                                Andy Marcell, Chief Executive Officer
                     ENABLED BY                               Mike O’Connor, Co-President
                                                                                                                                Retirement Solutions
                                                              John Bruno, Chief Operations Officer
                                                                                                                                Cary Grace, Chief Executive Officer
                                                              Siobhan Cifelli, Chief Human Resources Officer
                                                                                                                                Health Solutions
                                                              Tony Goland, Chief Innovation Officer                             John Zern, Chief Executive Officer
                          Data &
                                                              Darren Zeidel, General Counsel
                         Analytics                                                                                              Data & Analytic Services
                                                              Andy Weitz, Chief Marketing Officer                               John Bruno, Chief Executive Officer



 2018 Total Revenue by Geography
                 APAC
                                                                                 One Portfolio of Solutions            supported by
                         11%                                                                              ONE OPERATING MODEL

                                                                                                          #1 primary insurance brokerage
       EMEA   22%                        43%       U.S.             Commercial                            +$60B bound premium annually
                                                                    Risk Solutions                        +90% average retention


                     15%                                                                                  #1 treaty and facultative brokerage
                UK             9%                                   Reinsurance                           +$35B bound premium annually
                               Americas - non U.S.                  Solutions                             +30 consecutive quarters of net new business in core treaty


2018 Total Revenue by Line                                                                                $3.278T total global assets under advisement and management1
                                                                    Retirement                            Valuing approximately $3T in liabilities globally2
      Data & Analytics                                              Solutions                             #1 provider of Rewards solutions3
                     10%
                                                                                                          Over 4 million Voluntary Benefits participants
  Health      15%                                                   Health                                Leading provider of global health & benefits
                                      43%       Commercial
                                                Risk                Solutions                             $180B in premium and equivalents placed globally

              17%
Retirement                                                                                                $400M annual investment in data and analytics
                                                                    Data & Analytic                       Approximately $318B bound premium through the Risk/View
                          15%
                                                                    Services                              for Carriers tool for Aon Inpoint clients
                           Reinsurance                                                                    +34M individual customers from +300 organizations served
                                                                                                          by Aon’s US Affinity business


 1
   As 6/30/18, total global assets represents $160B in discretionary assets under management and $3,118B in non-discretionary
   assets advised by AHIC and its global affiliates. Non-discretionary assets includes retainer clients and clients in which AHIC and
   its global affiliates have performed project services over the preceding 12-month period. Project clients may not currently
   engage AHIC at the time of the calculation of assets under advisement as the project may have concluded earlier during
   preceding 12-month period.
 2
   As of 12/31/17, from FORM 5500 database; $1T US, $1T Europe, $1T Reinsurance.
 3
   In Technology, Life Sciences and Financial Services industries.

 The Aon Centre | The Leadenhall Building | 122 Leadenhall Street | London England EC3V 4AN | +44 (0)20 7623 5500 | aon.com | NYSE: AON


 08938 8/19
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                                                                                           Exhibit D
                                  Fox SWIBEL
                                  Fox SWIBEL LEVIN & CARROLL LLP
                                200 W. MADISON STREET, SUITE 3000
                                     CHICAGO, ILLINOIS 60606


DAN IEL A. DORFMAN                                                   Email: ddorfman @ foxswibel .com
DIRECT DIAL:   (312)224-1246



                                        November 19, 2019

Vth EmaiY

Tracey A. Archbold Sr. Claim Director
Great American Insurance Group
Fidelity/Crime Division
Crimelnsurance.com
P.O. Box 924 Farmingdale NJ 07727
tarchbold@GAIG.COM

Mark C. Perimutter, CPA
T.D. Davidson, CPA, P.C.
595 Route 109, Second Floor
West Babylon, New York 11704
mark @ tddavidson .com

                         Re:    Insured:               M&C Holdings Delaware Partnership
                                Your Claim No.:        A00l 10249
                                Policy No.:            SAA 5245001 13 00
                                Claim:                 Wayne Merdis loss

Dear Mr. Perirnutter and Ms. Archbold:

        Please be advised that I represent the Insured in the above-entitled claim. This letter will
serve to respond to your inquiry of the Insured on October 17, 2019, the October 22, 2019,
supplemental email, and your recent conference calls with Adam Furmansky at Aon. The
October 17, 2019, initial inquiry inquired as follows:

                  While reviewing information in preparation of       our report, we
                  became   aware of the folloit’ing issue: The Insured is claiming
                  stolen commissions for the ,am-s 2001 through 2017. The insured
                  provided a schedule of Pavnients to Merdis fictitious companies
                                                               ‘




                  totalmg approxunately     $1.95 million for that period. Of that
                  amount approxinately $1.1 Million were commissions due [sic]
                  legitimate third—party travel agencies. However, the list provided
                  to us by the Insured of third-party commissions diverted by Merdis
                  only begins in 2008. Therefore, cit/icr Merdis i/id not divert third
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                         party comm iss ions during the years 2001 through 2007 (except for
                         $32 in 2004 and $156.50 in 2007), or we have not been provided
                         that information. The Total [sic] commissions claimed stolen for
                         2001 through 2007 is approxi nate/v $580,427. It would seem a
                         significant portion of that amount may have been third party
                         commissions also. Can you inquire one last time about same with
                         the assured.

 To be clear, we do not agree with the above stated allocations, nor do we agree that “Merdis did
 not divert third party commissions during the years 2001 through 2007.” And, third party
 documentation has been provided by the Insured to Great American (“GA”) supporting the
 $l.954M claim amount. This documentation clearly demonstrates that payments were made by
 the Insured to the commission payment provider “resulting directly from the dishonest acts” of
 Mr. Merdis. While the documentation that the Insured has provided for the 2001 through 2007
 period does not indicate if the diverted bookings initially were booked through legitimate travel
 agencies, and if so, which ones, this distinction is of no difference or consequence. As Mr.
 Furmansky has repeatedly advised GA (most recently on October 10, 2019), it cannot re-write
 the policy and condition the Insured’s loss on the faulty assumption that the legitimate travel
 agencies have not sought commissions as the loss occurred at the time of the Insured’s transfer
                                                 —




 of funds due to Mr. Merdis’ fraudulent conduct (and to be clear, it is further most likely that the
 Insured has paid both the legitimate travel agencies and Merdis’ fraudulent travel agency). With
 that said, M&C has conducted a review of its records and is not in possession of any additional
 requested information (which same response was provided to GA/TD Davidson on October 24,
 2019).

          Now that all inquiries have been responded to, we appreciate GA’s expeditious resolution
 of this claim. We would like to remind GA that the Proof of Loss was submitted on March 21,
 2018. To further understand our frustration on the length of time it has taken for GA to resolve
 this claim, please see attached material timeline of events. Despite the Insured’s responsiveness
 in providing requested information, the attached timeline clearly demonstrates GA’s continued
 pattern of delay disguised as a request for additional information. That must end now. We
 therefore demand that GA finalize this claim within fourteen (14) days.




  There may be additional events not contained herein, and the list provided herein is not intended to be exhaustive.


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        This letter is not intended to, and does not, set forth all of the Insured’s rights, claims,
 causes of action and remedies against GA, all of which are expressly reserved.

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                                           7A
                                           L
                                                             %
                                               Daniel A Doifnt’an

 cc:      Adam Furmansky, Esq. VP Financial Services Gioup at Aon;
                                   —




          Jonathon Grech, Esq. SVP, Group General Counsel & Company Secretary at
                               —




          Millennium & Copthorne Hotels




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                                        CLAIM TIMELINE

          On 8/3 1/2018 Aon submitted M&C’ s Proof of Loss to Great American
             o Exit interview statement
             o Copy of indictment
             o Excel spreadsheet totaling $1.9M
             o Emails from TACS providing list of commissions paid to Wayne’s address,
                 including both Anayad/Annayad. 3rd party confirmation
             o Email from Assist. District Attorney and Subpoena production
             o Wayne Mans verified business and residential addresses: Copies of IRS Form
                 W2’s and W4’s. Online business’ address confirmations.

     •    On 9/28/20 19 Aon provides GA/accountant an unprotected spreadsheet entitled
          “Millennium Fraud Case. List of Commissions Paid (TACS)-Wayne Merdis
          09.27. 18.xlsx”

     •    On 10/24/2018 GA’s accountant attaches documents to email stating, “For your
          reference, attached please find the only support received from M & C initially on this
          claim. We’ll await the supporting records, and your inquiry of the DA, the personnel file,
          etc. Thanks for your assurance. Mark”

     •    Email between GA’s accountant and Jeremiah on or about November 13, 2018 re:
          claimed amount. Ernails also sent about providing GA’s accountant access to the shared
          dri ye.

     •    In November 2018, GA resists signing NDA. Ultimately agrees to sign NDA in
          December 2018.

     •    Aon sends employment file to GA on December 20, 2018.

     •    On 12/6/2018, GA’s accountant emails M&C team. GA’s accountant attaches a
          summary of claim documents with attachments. GA’s accountant states that he is still
          reviewing materials, and mentions possible meeting “to explore the system and hot it was
          changed at the beginning of 2017.”

     •    On 12/11/2018, Cindy Ho has a conference call with GA’s accountant and on
          12/14/2018, Cindy Ho, sends accountant documents and correspondence relating to the
          criminal case. This was apparently in response to an information request from the
          accountant.

     •    In or about 12/20/20 18, GA’s accountant inquired about “audit” reports generated by
          M&C.

     •    On 1/10/2019, Aon sends request to GA about what document requests remain
          outstanding and a timeframe on reviewing the submitted materials.



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     •    On 1/14/20 19, GA responds that it is reviewing the personnel file and will follow-up with
          additional questions.

     •    On 1/14/2019, GA’s account responds “As you are aware, I was out last week. It’s going
          to have to wait until I review the new data coupled with the previously submitted records,
          and also discuss the claim with Tracey. Mark”

     •    On 1/3 1/20 19, GA’s accountant responds, “I’m going to report to Tracey next week.”

     •    On 2/1/2019, GA advises that it will review the claim next week with Mark and address
          any additional information that he may need. GA also requests all personnel information
          prior to 2000 for Merdis.

     •    On 2/7/2019, GA’s accountant emails M&C team asking questions about various
          attached documents.

     •    On 2/7/20 19, Cindy Ho responded to GA’s accountant’s questions.

      •   On 2/14/20 19, Mark responds to Cindy with a question that was difficult to understand.

     •    On 2/19/2019, Mark writes to Aon and M&C advising that Great American was told
          originally that the fraud only involved a reservation where there was no travel agency
          involvement. GA’s accountant asks for clarification.

      •   On 2/20/2019, Aon writes to Mark and confirms the fraud was effectuated in two
          different manners.

      •   On 2/21/2019, Mark states that this contradicts what was original told to GA about the
          fraud. Mark inquires whether any TA’s contacted M&C regarding commissions not
          received.

      •   On 2/21/2019, Aon writes to Mark (with M&C’s consent) stating that there were many
          bonafide transactions, and that there may have been occasions wherein the original TA
          inquired about their commissions, but such inquiries likely went to Mr. Merdis. A call is
          also offered by M&C to discuss the claim.

      •   On 2/22/20 19, Mark replies that before there is a call, he would like M&C to provide
          samples of transactions that involved a bonafide TA initially, and then showing the
          reservation was changed to Merdis/Annayad.

      •   On 2/22/2019, GA advises it too is waiting for additional personnel information
          requested on 2/1/20 19.

     •    On 2/22/20 19, GA advises it is waiting for the plea agreement and sentencing order,
          previously requested



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     •    On 3/5/2019, Aon (with M&C consent) sends to GA’s accountant example of a
          transaction where Merdis changed the TA to one of his own.

     •    On 3/5/20 19, Aon sends additional employment file records.

     •    On 3/14/20 19, Aon reaches out to GA re: if any questions in order to expedite claim.

     •    On 3/21/2019, GA advises it will reach out next week with any questions.

     •    On 4/11/2019, GA sends a list 12 questions for M&C to answer.

     •    On 5/29/20 19, M&C responds to list of 12 questions from 4/11/2019.

     •    On 6/3/2019, GA acknowledges receipt of 5/29/2019 email.

     •    On 6/28/2019, Aon checks in with GA regarding further claim movement in order to
          expedite the claim.

     •    On 7/3/20 19, GA replies “As a follow up to our telephone conversation, I have completed
          my review of the information supplied and I need to address the Financial Control
          Manual with Mark to ensure that he does not have any questions that need follow up. As
          discussed, he is currently out of the office attending to a family situation. I will follow up
          with you as soon as possible.”

     •    On 7/12/2019, Aon follows up regarding GA’s attempts to connect with Mark and
          outstanding questions.

     •    On 7/18/2019, GA states, “Mark’s associate Bill, will be back in the office on Monday
          and will let me know if he has any questions surrounding the Financial Control
          Manual. In the meantime, I do know that we still need the insured to confirm whether the
          TAs Mr. Merdis changed to his own name were in fact legitimate reservations, which
          were owed commissions prior to the change.”

     •    On 7/22/2019, Aon responds to M&C explaining that this question was previously
          answered.

     •    On 7/22/20 19, GA discusses financial control manual and requests additional
          information. Subsequent correspondences regarding clarification of request.

     •    On 8/5/20 19, M&C/Aon provide responses to 7/22/20 19 questions.

     •    On 8/20/20 19, Aon followed up with GA on timeline in order to expedite claim.

     •    On 8/26/20 19, GA advises that it expects to follow up shortly after Labor Day.

     •    On 9/10/20 19, after no response from GA, Aon requests update from GA.



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     •    On 9/17/20 19, Aon again requests update.

     •    On 9/17/20 19, GA advises that it is preparing a response to the insured re: GA’s findings
          to date.

     •    On 9/20/20 19, GA issues a letter again asking for more information.

     •    On 10/4/2019, Aon discusses claim with GA and refutes position that change from one
          legitimate TA to Annayad is not Loss.

     •    On 10/10/2019, Aon sends email response to 9/20/2019 letter.

     •    On 10/14/2019, GA confirms receipt and states “we will take this into consideration as
          TD Davidson completes their report and circle hack around shortly.”

     •    On 10/17/20 19, GA’s accountant inquires about 200 1-2007 payments.




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)URPAdam Furmansky
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                                                                                                                                                                                        Exhibit E
6HQW10/10/2019 12:45:15 PM
7RArchbold, Tracey
&&Amanda Roxland
6XEMHFW[External] RE: M&C Holdings Delaware Partnership / Employee Dishonesty - Merdis - GAIC File: AXXXXXXXX
$WWDFKPHQWV
Tracey,

Below please find M&C͛ƐƌĞƐƉŽŶƐĞƚŽǇŽƵƌůĞƩĞƌĚĂƚĞĚ^ĞƉƚĞŵďĞƌϮϬ͕ϮϬϭϵ͘/ĂůƐŽĂƐŬǇŽƵ͕ƉƵƌƐƵĂŶƚƚŽŽƵƌ
ĐŽŶǀĞƌƐĂƟŽŶ͕ƚŽĐŽŶĮƌŵƚŚĂƚƚŚĞΕΨϴϬϬŬŝƐĐŽŶƐŝĚĞƌĞĚĐŽǀĞƌĞĚůŽƐƐ͘dŚĂŶŬƐ͘

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
Initially, you have asked ͚Please explain where the unresolved disputes were directed, as well as how and who
ǁĂƐƌĞƐƉŽŶƐŝďůĞƚŽƌĞƐŽůǀĞƚŚĞŵ͘/Ĩ΀ƚ΁ŚĞŵĂƩĞƌƐǁĞƌĞĂĚĚƌĞƐƐĞĚĂŶĚƌĞƐŽůǀĞĚĞůƐĞǁŚĞƌĞ͕ŝŶĚŝĐĂƚĞŝĨƚŚĞƌĞ
were records or logs, which addressed the resolutions.͛As we have stated on a few other occasions, M&C is not
in possession of any records relating to disputes from travel agencies (TAs) concerning those connected with this
ůĂŝŵ͘WůĞĂƐĞĂůƐŽƐĞĞDΘ͛s email (sent through Aon) of May 29, 2019 confirming that no logs were maintained
concerning TA complaints.

Moreover, M&C disagrees with Great American͛s position concerning $1,106,882.65 of the claimed loss amount.
The policy contemplates that it will ͙͞pay loss resulting directly from dishonest acts of employees͙with the
manifest intent to: (i) cause you to sustain loss͙͟dŚĞƉŽůŝĐǇƐƵƉƉŽƌƚƐĐŽǀĞƌĂŐĞĨŽƌƚŚĞΨϭ͕ϭϬϲ͕ϴϴϮ͘ϲϱůŽƐƐ͘,ĞƌĞ͕
Dƌ͘DĞƌĚŝƐĞīĞĐƚƵĂƚĞĚĂĨƌĂƵĚƚŚĂƚĞǆƚƌĂĐƚĞĚŽǀĞƌΨϭ͘ϵDĨƌŽŵDΘ͘KĨƚŚĂƚĂŵŽƵŶƚ͕Ψϭ͕ϭϬϲ͕ϴϴϮ͘ϲϱ;ĂĐĐŽƌĚŝŶŐƚŽ
'ƌĞĂƚŵĞƌŝĐĂŶͿǁĂƐƉĂŝĚƚŽDĞƌĚŝƐƌĂƚŚĞƌƚŚĂŶůĞŐŝƟŵĂƚĞdƐ͘/ƚŝƐŽĨŶŽŵĞƌŝƚǁŚĞƚŚĞƌDΘƉĂŝĚƚŚĞ
ůĞŐŝƟŵĂƚĞdƐŽƌŶŽƚ͘/ŶĨĂĐƚ͕DΘŵĂǇĞůĞĐƚƚŽ;ŝͿƉĂǇƚŚĞdƐƵƉŽŶƌĞĐĞŝƉƚŽĨĨƵŶĚƐĨƌŽŵ'ƌĞĂƚŵĞƌŝĐĂŶ͕;ŝŝͿ
forgive commissions, or a portion of commissions, for a period of time from the TAs, (iii) or any other avenue it
ǁŝƐŚĞƐ͘DŽƌĞŽǀĞƌ͕ƚŚĞƌĞĞǆŝƐƚƐƚŚĞƉŽƐƐŝďŝůŝƚǇƚŚĂƚ;ŝͿDΘƉĂŝĚƚŚĞůĞŐŝƟŵĂƚĞdƐďƵƚĐĂŶŶŽƚůŽĐĂƚĞĂƐƐŽĐŝĂƚĞĚ
records, or (ii) the TAs may demand repayment (assuming M&C did not pay the original TAs, which is not
admitted) from M&C at any time. Great American, pursuant to the policy͛s terms and conditions, is not able to
ĐŽŶĚŝƟŽŶĂůŽƐƐŽŶǁŚĂƚDΘŵĂǇŽƌŵĂǇŶŽƚŚĂǀĞĚŽŶĞĨŽůůŽǁŝŶŐƚŚĞůŽƐƐ͕ŶŽƌŽŶǁŚĂƚŝƚŵĂǇĚŽ͘WƵƚƐŝŵƉůǇ͕
the loss occurred at the time M&C transferred funds earmarked for Mr. Merdis on a fraudulent premise. Case law
supports this conclusion as well.

Great American͛s attempt to insert additional conditions on the policies͛ůĂŶŐƵĂŐĞŝƐŝŵƉĞƌŵŝƐƐŝďůĞ͘ƐŝŵƉůŝĮĞĚ
analysis is illustrative - in a simplified scenario of one $1,106,882.65 transfer ʹ M&C owed a $1,106,882.65 liability
immediately before the transfer; and immediately after the transfer, M&C paid $1,106,882.65 to the fraudster
ĂŶĚƐƟůůŵĂŝŶƚĂŝŶĞĚĂΨϭ͕ϭϬϲ͕ϴϴϮ͘ϲϱůŝĂďŝůŝƚǇ͘'ƌĞĂƚŵĞƌŝĐĂŶ    ͛s attempt to view the loss in hindsight and with
ĂĚĚŝƟŽŶĂůƉŽůŝĐǇƚĞƌŵƐŝƐŵŝƐƉůĂĐĞĚ͘'ƌĞĂƚŵĞƌŝĐĂŶ͕ďǇƚŚĞƉŽůŝĐǇ     ͛s terms, cannot act as judge and jury and rule
the original TAs earned commissions moot.

ZĞĐŽŶƐŝĚĞƌĂƟŽŶŝƐƌĞƋƵĞƐƚĞĚĂŶĚDΘƌĞƐĞƌǀĞƐĂůůƌŝŐŚƚƐ͘tĞƌĞƋƵĞƐƚƚŚĂƚ'ƌĞĂƚŵĞƌŝĐĂŶƌĞƐƉŽŶĚǁŝƚŚŝŶƚĞŶ
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$GDP6)XUPDQVN\(VT | Vice President
Aon | Financial Services Group
One Liberty Plaza, 165 Broadway, New York, NY 10006
T: 212-441- (PDLOadam.furmansky@aon.com
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From: Archbold, Tracey <tarchbold@GAIG.COM>
Sent: Friday, September 20, 2019 9:32 AM
To: jonathon.grech@milleniumhotels.com
Cc: janlyn.mahlman@milleniumhotels.com; mark tddavidson.com <mark@tddavidson.com>; Adam Furmansky
<adam.furmansky@aon.com>; Amanda Roxland <amanda.roxland@aon.com>
Subject: M&C Holdings Delaware Partnership / Employee Dishonesty - Merdis - GAIC File: AXXXXXXXX
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
Tracey A. Archbold | Sr. Claim Director
732.919.1870 | 513.369.7523 e-fax
Great American Insurance Group
Fidelity/Crime Division
CrimeInsurance.com
P.O. Box 924 | Farmingdale NJ 07727
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                                                                           Exhibit F
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Case: 1:20-cv-00121-SJD-KLL Doc #: 18-2 Filed: 03/31/20 Page: 19 of 29 PAGEID #: 153
Case: 1:20-cv-00121-SJD-KLL Doc #: 18-2 Filed: 03/31/20 Page: 20 of 29 PAGEID #: 154
           Case: 1:20-cv-00121-SJD-KLL Doc #: 18-2 Filed: 03/31/20 Page: 21 of 29 PAGEID #: 155
         From: Dorfman, Daniel [mailto:ddorfman@foxswibel.com]
                                                                                                                    Exhibit G
         Sent: Tuesday, January 21, 2020 3:51 PM
         To: Stephen Dratch <SDratch@njcounsel.com>
         Cc: 'Jonathon Grech' <Jonathon.Grech@millenniumhotels.co.uk>; Adam Furmansky
         <adam.furmansky@aon.com>
         Subject: M&C Holdings Delaware Partnership and all other Insureds; Your Claim: A0110249

         Mr. Dratch,

         We are in receipt of your letter dated December 17, 2019 ("Denial Letter") on behalf of Great American Insurance
         Company ("Great American"). The Denial Letter communicates that Great American intends to deny and refuse to
         pay the vast majority the $1,954,329.13 claim (the "Claim") submitted by my client, M&C Holdings Delaware
         Partnership and its affiliate Named Insureds ("Millennium")

         There is no reasonable basis for Great American's denial, just as there has been no reasonable basis for its
         lengthy delay in processing this claim.

         Millennium Plainly Established Coverage Under Insuring Agreement 1. Insuring Agreement 1 affords coverage for
         the peril that befell Millennium. Our analysis is informed in part by what Great American does not dispute or
         disprove. Great American acknowledges that Wayne Merdis was an employee of Millennium, and that his sham
         travel agency schemes were dishonest acts. It does not dispute that every penny of the Claim represents sums
         transferred from Millennium bank accounts to Merdis' sham agencies. Nor does Great American show that
         Millennium received any value from the sham entities in return for these transfers.

         Payments made on false claims submitted by an employee are covered under Insuring Agreement 1, unless Great
         American advances a basis for an exclusion to apply. The Denial Letter does not identify any such exclusion.
         Instead, it advances a single, limited basis for denial: that the vast majority of the claim does not constitute "loss,"
         but supposedly non-covered "bookkeeping loss." This position lacks factual and legal merit, as explained below.

         Great American's Speculative Factual Assertions Lack Merit. The Denial Letter does not justify the factual basis
         for its position. It appears that the lone premise for this argument is Great American's "understanding" that
         legitimate agencies never demanded payment for commissions they "presumably never received." No evidence
         supporting this conclusion is provided. Indeed, in the Denial Letter, Great American wonders aloud why such
         agencies have not complained or sought payment from Millennium "even after Merdis' scheme was revealed." The
         inference is obvious - legitimate agencies have not complained because they were paid in addition to the amounts
         paid to Merdis for his false claims. Otherwise, the legitimate agencies would have complained, just as any
         business would.

         Great American's view of the facts defies logic and common sense, and raises the bar for proof of loss to
         something like "proof beyond any existential doubt." Millennium need not meet such an impossible standard.
         Lacking actual evidence for its "presum[ption]" that legitimate agencies were never paid, Great American's position
         is manifestly unreasonable.

         Great American's Legal Position Is Wrong As A Matter Of Law. Suppose that, as Great American claims, Merdis's




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         scheme merely "diverted" payments to his sham agencies, and legitimate agencies were indeed never paid.
         Again, there is no proof of this. But even if this were proven, the transfer of funds to the sham agencies alone
         constitutes a covered "loss" under the Crime Protection Policy, full stop.

         As you know, the term "loss" is undefined. It will be construed in favor of the insured. Further, the lack of these
         provisions excluding "bookkepping" or "accounting" loss also undermines Great American's coverage position - its
         position would require a court to insert language that it failed to bargain for in the policy.

         Indeed, courts across the country have held that the term "loss" occurs when money is transferred from the
         insured's control, under similar policies involving nearly identical facts:


           * The Cincinnati Ins. Co. v. The Norfolk Truck Center, Inc., 2019 WL 6977408 (E.D. Va. Dec. 20, 2019) ("loss"
         occurred in computer fraud policy where an "[i]mposter fraudulently caused Defendant to pay a legitimate invoice
         to the wrong payee").
           * Am. Tooling Ctr., Inc. v. Travelers Cas. & Sur. Co. of Am., 895 F.3d 455, 461 (6th Cir. 2018) ("Travelers' theory
         would have us say that Casey caused no direct loss to Alex because Alex owed that money to Blair and was
         preparing to hand him the five-dollar bill. This interpretation defies common sense.").
           * Medidata Sols. Inc. v. Fed. Ins. Co., 729 F. App'x 117, 119 (2d Cir. 2018) ("New York courts generally equate
         the phrase 'direct loss' to proximate cause," finding loss of funds resulting from spoofing attack was covered by
         computer fraud policy).
           * XL Specialty Ins. Co. v. Loral Space & Commc'n, Inc., 82 A.D.3d 108, 113, 918 N.Y.S.2d 57, 61 (2011)
         (rejecting argument that D&O insurer was not obligated to reimburse insured for the attorney fees it was required
         to pay to opposing party out of pocket, on the supposed grounds that insured suffered only a "reduced benefit,"
         not a loss, because the net result of the suit resulted in an overall benefit to the insured); Ali v. Fed. Ins. Co., 719
         F.3d 83, 93 (2d Cir. 2013) (loss occurs and is affixed when property is lost by insured or liability payments are
         made to third parties, ignoring the accrual of liability to pay third parties).
           * Fed. Ins. Co. v. Srivastava, 2 F.3d 98, 103 (5th Cir.1993) ("the insured's loss was fixed before any settlement
         with the primary insurers . . . With a burglary of property, the insured loss was established.") (citing Zeig v.
         Massachusetts Bonding & Ins. Co., 23 F.2d 665, 666 (2d Cir. 1928) (Hand, J.)).

         The authorities cited by Great American are not to the contrary. If anything, they demonstrate that coverage is
         required here:


           * Spears v. St. Paul Ins. Co., 40 F.3d 318, 319 (10th Cir. 1994), a bankruptcy case, concerned a scheme in
         which an employee caused a third party client of the insured to pay his sham agency using that third party's funds,
         for services the agency did not render to such third party. It does not concern a scheme in which the insured paid
         its own money to the sham agency that the sham agency did not render to insured.
           * F.D.I.C. v. United Pac. Ins. Co., 20 F.3d 1070, 1080 (10th Cir. 1994) does hold that the policy there did not
         cover mere "bookkeeping loss." But the court ultimately ruled in favor of the insured, holding it "suffer[ed] a loss
         when funds [we]re disbursed due to the employee's wrongful conduct," and this is true "regardless of the security"
         held by the insured for that loss. The case shows that the disbursement of funds is alone sufficient to prove loss,
         whether or not the insured suffered other consequences (i.e., claims filed by third parties who were allegedly not
         paid).
           * Citizens Bank & Tr. Co. v. St. Paul Mercury Ins. Co., 2007 WL 4973847, at *4 (S.D. Ga. Sept. 14, 2007),
         likewise adopts a "cash-out-the-door theory" of "direct loss," and holds that "actual withdrawals of cash or other
         such pecuniary loss" by the Insured are recoverable.
           * BankInsure, Inc. v. Peoples Bank of the S., 866 F. Supp. 2d 577, 588 (S.D. Miss. 2012) does not involve a
         similar policy, as Great American claims. It concerns the scope of an exclusion related to whether a transaction
         was or was not a "loan".

         As Great American's own cases indicate, "loss" occurs when funds are lost or disbursed from an insured's
         accounts, due to a dishonest act. Millennium proved that its cash went out the door. Nothing more is required to
         establish coverage and payment of the full amount of its Claim.




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         The Claim Must Be Paid In Full. In light of the above, continued delay of reimbursing this Claim is unacceptable.
         Great American's conduct to date, leading up and including its unreasonable denial, appears to be nothing more
         than an exercise in bad faith. We are confident that a judge and jury would agree.

         Millennium rejects Great American's offer to compromise the Claim as set forth in its Denial Letter.

         Millennium instead reiterates its demand that Great American pay the Claim in full. Further to this demand, please
         see attached a draft complaint Millennium intends to file in the Southern District of New York by February 7, 2020,
         unless Great American confirms before then that it will pay the Claim in full, as requested. Millennium demands a
         full response to the statements and authorities cited herein and in the draft complaint. Otherwise, if Great
         American wishes to revisit its position and cover the Claim in full before then, please let me know. I am also
         available to discuss at your convenience.

         Millennium reserves all rights and remedies under applicable law.

         Regards,


         Daniel A. Dorfman
         Chair, Construction Law Group
         ddorfman@foxswibel.com<mailto:ddorfman@foxswibel.com> * 312-224-1246 (direct) | (312) 339-2966 (cell)

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           2020-01-21 Millennium Complaint (CONFIDENTIAL - SUBJECT TO FRE 408).pdf
           37K




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                                                                          Exhibit H
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